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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                CASE NO. 22-CR-20104-MARTINEZ


  UNITED STATES OF AMERICA,

         Plaintiff,
  v.

  RODOLPHE JAAR,

         Defendant.
                                        /

               OBJECTIONS TO PRE-SENTENCE INVESTIGATION REPORT

         Defendant, RODOLPHE JAAR, hereby files his objections to his Pre-Sentence

  Investigation Report (hereinafter “PSI”) and in support states:

         1.      Jaar entered into a written Plea Agreement with the United States of America. In

  this agreement, Jaar agreed to plead guilty to Counts I, II and III of the Third Superseding

  Indictment. Pursuant to Paragraph 6, Jaar and the United States expressly agreed they would

  recommend to this Court that the applicable adjusted offense level (before the application of §

  3E1.1) is Level 45.1 After a three-level reduction, Jaar’s advisory guideline range is a level 42

  with a range of 360 months to life.

         2.      The PSI, however, determined that Jaar’s adjusted offense level is 55. As the total

  offense is greater than 43, the total offense level is 43 resulting in a sentence of life. Should this

  Court follow the recommendations in this PSI, Jaar will not only be deprived of the benefit of his




  1
   The government is bound by this agreement. United States v. Taylor, 77 F.3d 368 (11th Cir.
  1996)(Finding the government breached its agreement by advocating for the position taken in the
  PSI that recommended a longer sentence than that agreed to by the parties).
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  plea bargain but he will be exposed to what is a mandatory life sentence. Accordingly, Jaar

  requests this Court sentence him within the terms of his plea agreement.

         3.      In addition, Jaar anticipates the Government will file a Rule 35 motion at some

  point after Jaar is sentenced. Therefore, Jaar wishes to reserve argument regarding the 18 U.S.C.

  § 3553 factors until he is resentenced.

                                                      Respectfully submitted,


                                                      BY:  /s/ Frank Schwartz, Esq.
                                                      Frank Schwartz, Esquire
                                                      Bar No. 120250

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                                   CERTIFICATE OF SERVICE

         I hereby certify that on May 24, 2023, undersigned electronically filed the foregoing

  document with the Clerk of the Court using CM/ECF and same was delivered to all parties in this

  case in the same manner.


                                                      BY:  /s/ Frank Schwartz, Esq.
                                                      Frank Schwartz, Esquire
                                                      Bar No. 120250
